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                       IN THE UNITED STATES DISTRICT COURT
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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
    16
                                   WESTERN DIVISION
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    18    PAVEMETRICS SYSTEMS, INC.,            ) Case No. 2:21-cv-1289-MCS-MMA
                                                )
    19                Plaintiff,                ) Honorable Mark C. Scarsi
                                                )
    20          v.                              ) JUDGMENT ON JURY VERDICT
                                                )
    21    TETRA TECH, INC.,                     )
                                                )
    22                Defendant.                )
                                                )
    23                                          )
          AND RELATED COUNTERCLAIMS             )
    24                                          )
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      1         The Court, having conducted a jury trial from August 17 through August
      2   24, 2022, pursuant to Plaintiff Pavemetrics Systems, Inc.’s (“Pavemetrics”)
      3   complaint for a declaratory judgment and Defendants Tetra Tech, Inc. and Tetra
      4   Tech TAS, Inc.’s (“Tetra Tech”) counterclaims in response thereto, HEREBY
      5   enters this Judgment in favor of Pavemetrics on all counts, according to the jury’s
      6   verdict as follows:
      7
      8         1.     Pavemetrics has not infringed Claims 1 and 21 of U.S. Patent No.
      9   10,362,293 by selling or offering to sell in the United States to CSX
    10    Transportation, Inc., the Laser Rail Inspection System (“LRAIL”);
    11
    12          2.     Pavemetrics has not induced Advanced Infrastructure Design to
    13    infringe Claim 8 of U.S. Patent No. 10,616,557 by the sale and support of
    14    Pavemetrics’ LRAIL;
    15
    16          3.     Claims 1 and 21 of U.S. Patent No. 10,362,293 would have been
    17    obvious to a person of ordinary skill in the art in view of the prior art known as
    18    Pavemetrics’ UML Sale and Support and/or UML-TRB2014, either alone or in
    19    combination with EC-TRB2014 and therefore are invalid under 35 U.S.C. § 103;
    20
    21          4.     Claim 21 of U.S. Patent No. 10,362,293 patent would have been
    22    obvious to a person of ordinary skill in the art in view of the prior art known as
    23    Pavemetrics’ UML Sale and Support and/or UML-TRB2014, in combination
    24    with EC-TRB2014 and Gibert-Serra and therefore is invalid under 35 U.S.C.
    25    § 103; and
    26
    27          5.     Claim 8 of U.S. Patent No. 10,616,557 would have been obvious to
    28    a person of ordinary skill in the art in view of the prior art known as Pavemetrics’
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      1   UML Sale and Support and/or UML-TRB2014, and therefore is invalid under 35
      2   U.S.C. § 103.
      3
      4   Dated: August 26, 2022
                                           Mark C. Scarsi
      5                                    UNITED STATES DISTRICT JUDGE
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